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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  KARISSA VACKER, MARK BOYETT,                      )
  BRIAN LARSON, IRON TOWER                          )
  PRESS, INC., and VAUGHN HEPPNER,                  )
                                                    )
         Plaintiffs,                                )         Case No. 24-cv-987-RGA
                                                    )
  v.                                                )       JURY TRIAL REQUESTED
                                                    )
  ELEVENLABS, INC.,                                 )
                                                    )
         Defendants.                                )


    PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL
  PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO TRANSFER VENUE

       Defendant Eleven Labs, Inc. moved for an order pursuant to Federal Rule of Civil

Procedure 5.2 and D. Del. L.R. 5.1(a) permitting the filing under seal of its Opening Brief in

Support of Motion to Transfer Venue to the Southern District of New York (“Opening Brief”) and

the associated Declaration of Alex T. Haskell (“Haskell Declaration”). Plaintiffs did not oppose

Defendant’s Motion to Seal, and the Court granted the motion. The Opening Brief and Haskell

Declaration remain sealed on the docket.

       Pursuant to Federal Rule of Civil Procedure 5.2 and D. Del. L.R. 5.1.3, Plaintiffs

respectfully move for leave to file under seal their Opposition to Defendant's Motion to Transfer

Venue to the Southern District of New York (“Opposition Brief”).

       Plaintiffs seek to file under seal solely because their Opposition Brief necessarily

references and discusses information that Defendant designated as confidential in the Declaration

of Alex T. Haskell, which Defendant filed under seal with this Court's permission on December

11, 2024. Specifically, Defendant’s Haskell Declaration contains certain business information that

Defendant designated as confidential and redacted from the public version. Because Plaintiffs'


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Opposition Brief necessarily addresses these details in responding to Defendant's venue

arguments, Plaintiffs are filing this motion to maintain the confidentiality of Defendant's

designated information.

       Good cause exists to file Plaintiffs’ Response under seal because it contains references to

redacted information in Defendant’s Opening Brief and Haskell Declaration, both of which are

currently under seal on the Court’s docket.

       In accordance with D. Del. L.R. 5.1.3, Plaintiffs will file a public version of the Opposition

Brief within seven days, with limited redactions solely to protect the specific information that

Defendant has designated as confidential. The vast majority of Plaintiffs’ Opposition Brief will

remain unredacted and accessible to the public.

       WHEREFORE, Plaintiffs respectfully request that the Court grant this motion for leave

to file their Opposition Brief under seal.




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 Dated: January 23, 2025                 Respectfully submitted,

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                                         and Vaughn Heppner




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